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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

  UNITED STATES OF AMERICA                       §

  v.                                             §              CRIMINAL No. 6:01CR39(10)

  NICHOLAS RAY MCMORRIS                          §


                            REPORT & RECOMMENDATION OF
                           UNITED STATES MAGISTRATE JUDGE



         On December 15, 2005, the Court conducted a hearing to consider the government's

  petition to revoke the supervised release of Nicholas Ray McMorris (“McMorris”). The

  government was represented by Bill Baldwin, Assistant United States Attorney for the Eastern

  District of Texas, and the defendant was represented by court appointed counsel, Jeff Haas.

         Defendant originally plead guilty to possession with intent to distribute and distribution

  of cocaine base, in violation of 21 U.S.C. § 841(a)(1), a Class C felony. On May 16, 2002, U.S.

  District Judge John Hannah sentenced the defendant to 24 months in prison followed by 3 years

  supervised release, and on January 28, 2005, defendant completed his term of imprisonment and

  began a term of supervised release.

         Under the conditions of supervised release, defendant was prohibited from committing

  any federal, state, or local crime, frequenting places where controlled substances are illegally

  sold, used, distributed, or administered, and was required to report as directed to his probation

  officer. On August 30, 2004, McMorris committed the offense of delivery of a substance in

  penalty group 1 (cocaine base) in an amount exceeding 1 gram, but less than 4 grams in


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  violation of Texas Health and Safety Code 481.112(c). The government also alleges defendant

  violated his conditions of supervised release by committing the offense of resisting arrest,

  search, or transport; by committing the offense of evading arrest; and by failing to report to the

  probation office as instructed on November 18, 2004. As the defendant was originally

  convicted of a Class C felony, if the court finds by a preponderance of the evidence that

  defendant violated a condition of his supervised release a sentence of no more than 2 years may

  be imposed. 18 U.S.C. § 3583(e)(3).

         The federal sentencing guidelines prescribe ranges of imprisonment within the limits set

  forth in 18 U.S.C. § 3583(e)(3) based on the defendant’s criminal history category and the

  severity of the violation. According to the guidelines, defendant carries a criminal history

  category of I and committed a Grade C violation by committing the offense of resisting arrest,

  search, or transport; by committing the offense of evading arrest; and by failing to report to the

  probation office as instructed on November 18, 2004. U.S.S.G. § 7B1.1(a)(3). Therefore,

  defendant is subject to a guideline range of 3 to 9 months if the court chooses to impose a term

  of imprisonment. U.S.S.G. § 7B1.4(a).

         However, if the court finds that defendant violated the terms of supervised release by

  committing the offense of delivery of a substance in penalty group 1 (cocaine base) in an

  amount exceeding 1 gram, but less than 4 grams in violation of Texas Health and Safety Code

  481.112(c), then the court must revoke the term of supervised release in favor of a term of

  imprisonment. U.S.S.G. § 7B1.1(a)(1). Furthermore, U.S.S.G. § 7B1.4(a) provides that the

  guideline range for this violation is 12 to 18 months.

         Faced with the government’s evidence, defendant plead True to violating a condition


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  of release by committing the offense of delivery of cocaine base in violation of Texas Health

  and Safety Code 481.112(c). The government recommended the Court impose a term of

  imprisonment of 12 months and one day with no supervised release to follow, and the defendant

  had no objection to the government’s recommendation.

         The Court finds that the defendant’s plea was made freely and voluntarily and that the

  defendant is competent to enter this plea. Pursuant to the Sentencing Reform Act of 1984, the

  Court recommends that the defendant, Nicholas Ray McMorris, be committed to the custody

  of the Bureau of Prisons for a term of imprisonment of 12 months and one day with no

  supervised release to follow.

                    SIGNED this 19 day of December, 2005.




                                                   ___________________________________
                                                    HARRY W. McKEE
                                                    UNITED STATES MAGISTRATE JUDGE




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